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Meta MIL #4, Exhibit A
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Meta MIL #4, Exhibit B
                Public Redacted Version
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



  FEDERAL TRADE COMMISSION,

                    Plaintiff,
                                                          Case No. 1:20-cv-03590-JEB
               v.
                                                          FILED UNDER SEAL
  META PLATFORMS, INC.,

                    Defendant.


       META PLATFORMS, INC.’S AMENDED PRELIMINARY WITNESS LIST

       Pursuant to the Court’s Order (ECF No. 390), Defendant Meta Platforms, Inc. (“Meta”)

provides this Amended Preliminary Witness List.

       Meta discloses the party, non-party, and expert witnesses it currently anticipates that it

will or may call at trial, with the expected subjects of their testimony. Meta currently expects

that it will call witnesses live but reserves the right to offer prior sworn testimony in the event

that witnesses are unavailable. Meta reserves the right to add or drop witnesses from the list. In

addition, Meta will designate witnesses on the forthcoming FTC witness list as witnesses that

Meta will or may call, to avoid disputes at trial over the scope of Meta’s examination of those

witnesses.




                                                  1
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Meta MIL #4, Exhibit D
                      Filed Under Seal
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                      Filed Under Seal
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Meta MIL #4, Exhibit G
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Meta MIL #4, Exhibit H
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Meta MIL #4, Exhibit I
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Meta MIL #4, Exhibit J
                      Filed Under Seal
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Meta MIL #4, Exhibit K
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From:               Matheson, Daniel
To:                 Weaver, Hilary M.; Masters, Owen; Smith, Michael; Wilson, Dominique; Steephen, Sunila; Cerilli, Krisha; Zuver,
                    Robert; Dimoscato, Maria
Cc:                 Hansen, Mark C.; Huff, Kevin B.; Fetterman, Kenneth M.; gklineberg-contact; Miller, Kevin J.; Panner, Aaron M.;
                    Smith, Lillian V.; Horvitz, Kevin D.; Parkinson, Alex A.; Paul, Ana N.; Polavarapu, Aaseesh P.; "Mehta, Sonal";
                    "Gringer, David"; Rouhandeh, James; Scheinkman, Michael
Subject:            RE: FTC v. Meta Platforms, Inc., Case No. 1:20-cv-03590-JEB
Date:               Tuesday, May 28, 2024 11:28:41 AM


Counsel,

We disagree that the language that appeared in the FTC’s Brief and Counterstatement fails to
accurately reflect the contents of the materials cited. However, in order to avoid a needless
controversy, the FTC is willing to propose the two edits below, which we do not believe will change
the pagination of either the Brief or the Counterstatement. We are providing this language in
advance of our 1:30 call in order to facilitate our discussion.

Brief at 60:
           Likewise, Meta has underinvested in integrity on Instagram and adopted integrity
           policies that harm users. For example, evidence indicates that: Meta is ineffective in its
           efforts to remove objectionable content including material sexualizing children, and
           reportedly Instagram’s algorithm has even recommended such material to certain
           users, CS § V.D.5.e.1, 2; and Meta imposed a policy of delaying removal of content
           posted by high-profile accounts, resulting in widespread exposure to harmful content
           (including but not limited to “revenge porn”), see CS § V.D.6.a.

Counterstatement
           2258.   Moreover, recent studies indicate that Meta’s automated systems and hashtags
           have promoted material sexualizing children on Instagram.

Regards,
Dan



From: Weaver, Hilary M. <hweaver@kellogghansen.com>
Sent: Monday, May 27, 2024 9:51 AM
To: Matheson, Daniel <dmatheson@ftc.gov>; Masters, Owen <omasters@ftc.gov>; Smith, Michael
<msmith9@ftc.gov>; Wilson, Dominique <dwilson1@ftc.gov>; Steephen, Sunila
<ssteephen@ftc.gov>; Cerilli, Krisha <kcerilli@ftc.gov>; Zuver, Robert <rzuver@ftc.gov>; Dimoscato,
Maria <mdimoscato@ftc.gov>
Cc: Hansen, Mark C. <mhansen@kellogghansen.com>; Huff, Kevin B. <khuff@kellogghansen.com>;
Fetterman, Kenneth M. <kfetterman@kellogghansen.com>; gklineberg-contact
<gklineberg@kellogghansen.com>; Miller, Kevin J. <kmiller@kellogghansen.com>; Panner, Aaron M.
<apanner@kellogghansen.com>; Smith, Lillian V. <lsmith@kellogghansen.com>; Horvitz, Kevin D.
<khorvitz@kellogghansen.com>; Parkinson, Alex A. <aparkinson@kellogghansen.com>; Paul, Ana N.
<apaul@kellogghansen.com>; Polavarapu, Aaseesh P. <apolavarapu@kellogghansen.com>; 'Mehta,
Sonal' <sonal.mehta@wilmerhale.com>; 'Gringer, David' <david.gringer@wilmerhale.com>;
Rouhandeh, James <rouhandeh@davispolk.com>; Scheinkman, Michael


                                                                1
      Case 1:20-cv-03590-JEB        Document 419-5         Filed 03/12/25    Page 32 of 35


<michael.scheinkman@davispolk.com>
Subject: RE: FTC v. Meta Platforms, Inc., Case No. 1:20-cv-03590-JEB

Thank you, Dan. Tomorrow (May 28) at 1:30pm works for us. A Zoom link, along with dial-in
information, is below.

Regards,
Hilary

Join Zoom Meeting



Meeting ID:
Passcode:

---

One tap mobile




---

Dial by your location




Meeting ID:
Passcode:



                                                 2
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Subject: [EXTERNAL] RE: FTC v. Meta Platforms, Inc., Case No. 1:20-cv-03590-JEB

Counsel,
We have reviewed your correspondence. We are available to meet and confer on Tuesday
afternoon (May 28). 1:30 p.m. would work for us if that is convenient for you.
Regards,
Dan



From: Weaver, Hilary M. <hweaver@kellogghansen.com>
Sent: Sunday, May 26, 2024 9:10 PM
To: Matheson, Daniel <dmatheson@ftc.gov>; Masters, Owen <omasters@ftc.gov>; Smith, Michael
<msmith9@ftc.gov>; Wilson, Dominique <dwilson1@ftc.gov>; Steephen, Sunila
<ssteephen@ftc.gov>; Cerilli, Krisha <kcerilli@ftc.gov>; Zuver, Robert <rzuver@ftc.gov>; Dimoscato,
Maria <mdimoscato@ftc.gov>
Cc: Hansen, Mark C. <mhansen@kellogghansen.com>; Huff, Kevin B. <khuff@kellogghansen.com>;
Fetterman, Kenneth M. <kfetterman@kellogghansen.com>; gklineberg-contact
<gklineberg@kellogghansen.com>; Miller, Kevin J. <kmiller@kellogghansen.com>; Panner, Aaron M.
<apanner@kellogghansen.com>; Smith, Lillian V. <lsmith@kellogghansen.com>; Horvitz, Kevin D.
<khorvitz@kellogghansen.com>; Parkinson, Alex A. <aparkinson@kellogghansen.com>; Paul, Ana N.
<apaul@kellogghansen.com>; Polavarapu, Aaseesh P. <apolavarapu@kellogghansen.com>; 'Mehta,
Sonal' <sonal.mehta@wilmerhale.com>; 'Gringer, David' <david.gringer@wilmerhale.com>;
Rouhandeh, James <rouhandeh@davispolk.com>; Scheinkman, Michael
<michael.scheinkman@davispolk.com>
Subject: FTC v. Meta Platforms, Inc., Case No. 1:20-cv-03590-JEB

Counsel,

Please see the attached correspondence. Meta requests that the FTC provide its position on the
requests outlined in the attached letter by no later than Tuesday, May 28, at 5pm EDT.

We are available to meet and confer on Monday, May 27, between 9am-12pm EDT, and anytime on
Tuesday, May 28.

Regards,
Hilary

Hilary M. Weaver
Kellogg, Hansen, Todd, Figel, & Frederick, P.L.L.C.
1615 M Street, N.W. | Suite 400 | Washington, DC 20036 | (202) 367-7804

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                                                           4
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Meta MIL #4, Exhibit L
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